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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )
                                               )
THOMAS L. SHAFER,                              ) Docket no. 2:03-cr-90-GZS
                                               )
                                               )
                       Defendant.              )
                                               )
                                               )

                 ORDER ENLARGING TIME FOR NOTICE OF APPEAL

       By Order dated December 5, 2008 (Docket # 77), the First Circuit asked this Court to rule
on whether the Defendant’s Notice of Appeal (Docket # 72), filed on October 27, 2008, was
timely in accordance with Federal Rule of Appellate Procedure 4(b)(4).
       Upon review of the docket, the Court now finds good cause for extending the time for
Mr. Shafer to file his notice of appeal until October 27, 2008. Mr. Shafer seeks to appeal the
Court’s September 29, 2008 Order (Docket # 72), which he received by mail. A docket entry by
the Clerk’s Office on October 8, 2008 indicates that the first mailing to Mr. Shafer was returned
as undeliverable due to a change in his BOP mailing address. The September 29, 2008 Order
was then resent on October 8, 2008 resulting in Mr. Shafer receiving the Order after the ten day
deadline for filing a notice of appeal had passed. Extending the deadline for filing the appeal
until October 27, 2008 represents a reasonable extension given the time needed for Mr. Shafer to
receive the Court’s October 8, 2008 mailing, prepare his notice of appeal (which is dated
October 16, 2008), and mail the notice of appeal back to the Court.
       In accordance with Rule 4(b)(4), the Court hereby EXTENDS the deadline for filing a
notice of appeal to October 27, 2008 and thereby FINDS Defendant’s Notice of Appeal (Docket
# 72) to be timely filed. This decision shall be forwarded to the First Circuit forthwith.
       SO ORDERED.
                                                      /s/ George Z. Singal
                                                      Chief U.S. District Judge

Dated this 15th day of December, 2008.
